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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 17-24602-CIV-ALTONAGA

  LISA HILL,

           Plaintiff,
  v.

  SYNCHRONY FINANCIAL USA, et al.,

        Defendants.
  __________________________________/

                                            ORDER

           THIS CAUSE is before the Court upon the Notice of Settlement [ECF No. 45] filed by

  Plaintiff and Defendant, Synchrony Financial USA, filed on August 2, 2018. The parties advise

  that a settlement has been agreed upon between Plaintiff and Defendant, Synchrony Financial

  USA. The Court having carefully reviewed the file, and being otherwise fully advised, it is

  hereby

           ORDERED AND ADJUDGED that the parties shall file a stipulation for dismissal

  within thirty (30) days of the date of this Order as to Defendant, Synchrony Financial USA.

           DONE AND ORDERED in Miami, Florida, this 3rd day of August, 2018.




                                                       _________________________________
                                                       CECILIA M. ALTONAGA
                                                       UNITED STATES DISTRICT JUDGE

  cc:      counsel of record
